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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                         CASE NO. 18-25203


 In re NCL (BAHAMAS) LTD.,

 Defendant.
 ___________________________/

    JOINT PETITION FOR APPROVAL OF SETTLEMENTS OF MINORS’ CLAIMS

        The Parties, by and through their undersigned counsel, jointly petition this Court to approve

 the settlements reached in the claims brought on behalf of minors in this consolidated action. As

 grounds therefore, the Parties state:

        1. This matter involves the consolidated claims of over 250 passengers aboard the cruise

 vessel, Norwegian Breakaway in December 2017 when it encountered what Plaintiffs previously

 described as “a massive weather event (Bomb Cyclone),” and what Defendant previously

 described as “a winter weather system.” (D.E. 25, p. 1).

        2. This matter settled among all parties on September 10, 2019.

        3. Among the passenger claims brought are claims brought on behalf of 60 minors,

 ranging in ages from 4 through 17 years of age. 40 minors are represented by Lipcon, Margulies,

 Alsina & Winkleman, P.A. and 20 minors are represented by the Holzberg Law Firm. All minors’

 claims have been brought through their parent as natural guardian.

        4. Pursuant to Florida Statute § 744.387, “[n]o settlement after an action has been

 commenced by or on behalf of a ward shall be effective unless approved by the court having

 jurisdiction of the action.” Fla. Stat. § 744.387(3)(a).




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          L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
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        5. The statute goes on to state that “[i]n the event of settlement or judgment in favor of

 the ward or minor, the court may authorize the natural guardians or guardian… to collect the

 amount of the settlement or judgment and to execute a release or satisfaction.” Fla. Stat. §

 744.387(3)(b).

        6. None of the proposed settlements on behalf of the minor claimants require a legal

 guardianship pursuant to Fla. Stat. § 744.387(2) or (3)(b).

        7. The terms of the proposed settlements in this matter are confidential. Accordingly, the

 Parties respectfully request this Court hold a telephonic hearing where an attorney for the minor

 claimants and an attorney for the Defendant may disclose the terms of the proposed settlements

 for the minors and address any issues raised by the Court.

        WHEREFORE, the parties respectfully request this Court enter an Order approving the

 settlement of the minors claims in this matter. A proposed Order is attached.

        Respectfully submitted this 10th day of September, 2019.


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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 17, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel of record or pro se parties identified on the attached Service

 List in the manner specified, either via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

 to electronically receive Notices of Electronic Filing.

                                                    By: /s/ Jason R. Margulies
                                                        JASON R. MARGULIES
                                                        FLORIDA BAR NO 57916




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